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CSD 1100 [12/01/15]
Name, Address, Telephone No. & |.D. No.

Jerry Namba, SBN 120117

LAW OFFICE OF JERRY NAMBA
504 E. Chapel Street

Santa Maria, California 93454
Tel. (805) 347-9848

 

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF CALIFORNIA
325 West F Street, San Diego, California 92101-6991

 

In Re

FO-Farmer's Ouilet, Inc., a Corporation BANKRUPTCY NO. 15-07464-LA7

Debtor.

AMENDMENT
Presented are the original and one conformed copy of the following [Check one or more boxes as appropriate]:

 

Voluntary Petition

Attachment to Chapter 11 Voluntary Petition for Non-Individuals

Exhibit C: Attachment to Voluntary Petition B 4

Summary of Schedules (Includes Statistical Summary of Certain Liabilities)

Summary of Your Assets and Liabilities and Certain Statistical Information

Schedule of Real and/or Personal Property

Schedule of Property Claimed Exempt for Individuals

Creditors Holding Claims Secured by Property, Creditors Who Have Unsecured Priority and/or Non-priority Claims,
and/or Matrix, and/or list of Creditors or Equity Holders - REQUIRES COMPLIANCE WITH LOCAL RULE 1009

L] Adding or deleting creditors (electronic media), changing amounts owed or classification of debt - $30.00
fee required. See instructions on reverse side.
[-] Correcting or deleting other information. See instructions on reverse side.
Schedule of Executory Contracts & Expired Leases
Schedule of Co-Debtor
Income of Individual Debtor(s)
Expenses of Individual Debtor(s)
Expenses for Separate Household of Debtor 2
Statement of Financial Affairs
Chapter 7 Statement of Your Current Monthly Income
Chapter 7 Statement of Exemption from Presumption of Abuse Under § 707(b)(2)
Chapter 7 Means Test Calculation
Chapter 11 Statement of Your Current Monthly Income
Chapter 13 Statement of Current Monthly Income and Calculation of Commitment Period:
Chapter 13 Calculation of Your Disposable Income a
Other: “ ¢ a)
Dated: January 28, 2016 Signature fe
Attorney for Debtor

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CSD 1100

 
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B6B (Official Form 6B) (12/07)

In re FO-FARMER'S OUTLET, INC. Case No. 15-07464-LA7
Debtor(s) (if known)

SCHEDULE B-PERSONAL PROPERTY
Amended 01/28/2016

Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,

place an “x" in the appropriate position in the column labeled “None.” if additional space is needed in any category, attach a separate sheet properly
identified with the case name, case number, and the number of the category. if the debtor is married, state whether the husband, wife, both, or the
marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

 

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-Executory Contracts
and Unexpired Leases.

If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If
the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian.” Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

 

 

 

 

 

Current
Type of Prope N Description and Location of Propert Value
yP perty P perty of Debtor's Interest,
° Husband--H in Property Without
n Wife--W Deducting any
Joint--J Secured Claim or
e Community--C Exemption
4. Cash on hand. x
2. Checking, savings or other financial Rabobank $0.00
accounts, certificates of deposit, or shares
in banks, savings and foan, thrift, building [CORRECTED - account was overdrawn) I
and loan, and homestead associations, or Location: 502 Holt Ave
credit unions, brokerage houses, or .
cooperatives. Holtville, CA 92250
Acct # 0002513595
3. Security deposits with public utilities, x
telephone companies, landlords, and
others.
4, Household goods and furnishings, x
including audio, video, and computer
equipment.
5. Books, pictures and other art objects, x

antiques, stamp, coin, record, tape,
compact disc, and other collections or

collectibles.
6. Wearing apparel. x
7. Furs and jeweiry. x
8. Firearms and sports, photographic, and x
other hobby equipment.
9. interests in insurance policies. Name x

insurance company of each policy and
itemize surrender or refund value of each.

10. Annuities. Itemize and name each issuer. x

. Interest in an education IRA as x
defined in 26 U.S.C. 530(b)(1) or under
@ qualified State tuition plan as defined in
26 U.S.C. 529(b)(1). Give particulars.
(File separately the record(s) of any such
interest(s). 11 U.S.C. 521(c).}

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12. Interests in IRA, ERISA, Keogh, or other x
pension or profit sharing plans. Give
particulars.

 

 

 

 

 

 

 

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B7 - (Official Form 7) (4/13)

NATURE AND

NAME AND ADDRESS TITLE PERCENTAGE OF STOCK OWNERSHIP

Holtville, CA 92250

 

22. Former partners, officers, directors and shareholders

 

 

 

 

None a. if the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the commencement of this case.
xX!
None b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year immediately preceding the
px] commencement of this case.

23. Withdrawals from a partnership or distribution by a corporation
None If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form, bonuses,
KX loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the commencement of this case.

24, Tax Consolidation Group.
None If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax purposes
DX of which the debtor has been a member at any time within six years immediately preceeding the commencement of the case.

25. Pension Funds.
None If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer, has been

C

responsible for contributing at any time within six years immediately preceding the commencement of the case.

NAME OF PENSION FUND TAXPAYER-IDENTIFICATION NUMBER (EIN)

Name:CB&T Cust Simple IRA ID# : XX-XXXXXXX

ADDED

Statement of Affairs - Page 8

 
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CSD 1100 (Page 2) 12/01/15)
DECLARATION OF DEBTOR

We] thomas Angulo ; and FO Farmer's Outlet, inc. , the debtor(s), hereby
declare under penalty of perjury that the information set forth in the amendment attached hereto, consisting of __
pages, and on the creditor matrix electronic media, if any, is true >and correct to the best of my [our] information and belief,

7, ra
“. sage

 

Dated: January 28, 2016 fxd hi,
—_ _/*Yebtor *Joint Debtor
“Pursuant to LBR 5005-4(0), the.eriginal debtor signature(s) in a scanned format is required,
INSTRUCTIONS
A Each amended page Is to be in the same form as the original but is to contain only the information to be
changed or added. Pages from the original document which are not affected by the change are not to be
attached, ,
1. Before each entry, specify the purpose of the amendment by inserting:
a, "ADDED," if the information was missing from the previous document filed: or
b, "CORRECTED, ’ if the information modifies previously listed information: or
c "DELETED," if previously listed information is to be removed.

2 At the bottom of each page, insert the word “AMENDED.”

3. Attach all pages to the cover page and, ifa Chapter 7, 11, or 12 case, serve a copy on the United States
Trustee, trustee (if any) and/or the members of a creditors‘ committee. if a Chapter 13 case, serve a copy on
the trustee; DO NOT serve a copy ori the United States Trustee.

B. Comply with Local Bankruptcy Rule 1009 when adding or correcting the names and/or addresses of creditors

(electronic media required when Amendment submitted on paper) or If altering the status or amount of a claim,

Amendments that fail to follow these instructions may be refused.
“Amendments filed after the case is closed are not entitied to a refund of fees**

 

PROOF OF SERVICE

|, whose address appears below, certify:
That | am, and at all relevant times was, more than 18 years of age;

| served a true copy of this Armendment on the following persons listed below via the following method(s):
1. To Be Served by the Court via Notice of Electronic Filing (“NEF*"):

Under controlling Local Bankruptcy Rules(s) (“LBR’), the document(s) listed above will be served by the court
via NEF and hyperlink to the document, Gn 1/28/2016 , [checked the CM/ECF docket for this
bankruptcy case or adversary proceeding and determined that the following person(s) are on the Electronic Mail Notice
List to receive NEF transmission at the e-mail address(es) indicated and/or as checked below:

Christopher Barclay admin@crb7trustee.com, gcrharclay2@ecf.epiqsystems.com
John H. Kim jkim@cookseylaw.com
* United States Trustee —_ ustp.region1 5@usdoj.gov

¥) Chapter? Trustee: Christopher Barclay

Z For Chot. 7, 11, & 12 cases: ry For ODO numbered Chapter 14 cases: _ For EVEN numbered Chapter 13 cases:
UNITED STATES TRUSTEE THOMAS H. BILLINGSLEA, JR., TRUSTEE DAVID L. SKELTON, TRUSTEE
ustp.region1S@usdoj. gov Billingstea@thb.coxatwork.com adrain@ich13.sdeoxmail.com

dskelton13@ecf.spigsystems.com

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2. Served by United States Mail or Overnight Mail:

On ,| served the following person(s) and/or entity(ies) at the last known address(es)
In this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the

United States Mail via 1) first class, postage prepaid, 2) certified mail with receipt number or 3) overnight mail service,
addressed as follows:

3. Served by Personal Delivery, Facsimile Transmission or Electronic Mai:

Under Fed.R.Civ.P.5 and controlling LBR, on , | served the following person(s)

and/or entity(ies) by personal delivery, or (for those who consented in writing to such service method), by facsimile
transmission and/or electronic mail as follows:

| declare under penalty of perjury under the laws of the United States of America that the statements made in this
proof of service are true and correct.

 

 

(Typed Name and Signature)

Executed on 1/28/2016 Kathleen Dickey _*- “to leDeb.
(Date) a ”

504 E. Chapel Street
(Address)

Santa Maria, CA 93454
(City, State, ZIP Code)

CSD 1100
